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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.



  IN RE APPLICATION OF
  Victor Mikhaylovich Pinchuk
  Pursuant to 28 U.S.C. § 1782
  For Judicial Assistance in
  Obtaining Evidence in this District
                                            /

                EX PARTE APPLICATION FOR DISCOVERY PURSUANT
          TO 28 U.S.C. § 1782 AND INCORPORATED MEMORANDUM OF LAW

         Applicant, Victor Mikhaylovich Pinchuk (“Pinchuk” or the “Applicant”), respectfully

  submits this Ex Parte Application for Discovery Pursuant to 28 U.S.C. § 1782 (the

  “Application”) seeking discovery from: (i) Georgian American Alloys, Inc.; (ii) Felman

  Production LLC (wholly-owned subsidiary of Georgian American Alloys, Inc.); (iii) Felman

  Trading, Inc. (wholly-owned subsidiary of Georgian American Alloys, Inc.); (iv) CC Metals &

  Alloys LLC (wholly-owned subsidiary of Georgian American Alloys, Inc.); and (v) Mordechai

  Korf (the Chief Executive Officer of Georgian American Alloys, Inc. and Felman Trading, Inc.)

  (collectively, (i) through (iv) are referred to as the “Corporate Discovery Subjects” and (i)

  through (v) are referred to as the “Discovery Subjects”).

         All of the Discovery Subjects can be found in this District. Applicant requests the

  discovery for use in a pending arbitration in the London Court of International Arbitration (the

  “London Arbitration”) that Applicant has instituted against his business partners, Igor

  Valeryevich    Kolomoisky      (“Kolomoisky”)      and      Gennadiy   Borisovich   Bogolyubov

  (“Bogolyubov”).     In the London Arbitration, Applicant seeks damages as a result of

  Kolomoisky’s and Bogolyubov’s misappropriation of business opportunities, self-dealing
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  transactions, and failure to distribute profits to Applicant in violation of the parties’ agreements

  and understandings.

            As set forth below, the discovery that Applicant seeks meets the requirements of 28

  U.S.C. § 1782, as well as the factors set forth by the United States Supreme Court in Intel Corp.

  v. Advanced Micro Devices, Inc., 542 U.S. 241, 246-47 (2004). The Discovery Subjects have

  information that is highly relevant to the claims asserted in the London Arbitration.

                                         FACTUAL BACKGROUND

  I.        THE RELEVANT PARTIES

            Pinchuk is a Ukrainian citizen who resides in Ukraine. See Exhibit A, Declaration of

  Henry Forbes Smith (“H. F. Smith Decl.”) at ¶ 5. Kolomoisky is a dual citizen of Ukraine and

  Israel, and currently resides in Switzerland. See id. at ¶ 6(1). Bogolyubov is a Ukrainian citizen

  who resides in England. See id. at ¶ 6(2). Kolomoisky and Bogolyubov have been business

  partners since the late 1980s, together owning a number of different types of businesses,

  including extensive interests in the ferroalloy1 business. See id. at ¶ 9. Pinchuk also owns

  extensive interests in the ferroalloy business. See id.

            In late 2005 or early 2006, Kolomoisky and Bogolyubov approached Pinchuk about

  merging their respective ferroalloy assets. See H. F. Smith Decl. at Ex. 2, ¶ 33. At the time,

  Pinchuk owned a majority interest in one of the largest producers of ferroalloys in Europe (the

  “Nikopol Plant”). See id. at ¶¶ 31-32. Kolomoisky and Bogolyubov owned a minority interest

  in the Nikopol Plant, controlling interests in two of the largest suppliers of raw materials to the

  Nikopol Plant, and substantial interests in two other ferroalloy production plants. See id at ¶¶


  1
      Ferroalloys are alloys of iron with a high proportion of other elements that are used to make steel.


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  30-32. In April 2006, the parties agreed in principal to create a joint holding structure in respect

  of their ferroalloy assets. See id. at ¶ 35. For purposes of this Application, this joint holding

  structure (which comprises a number of companies holding interests in ferroalloy assets) is

  hereinafter referred to as “Ferroalloy Holding.” Ferroalloy Holding is not a single corporate

  entity, and the term is used in this Application for convenience.

          The parties also entered into a series of interconnected written and oral agreements

  between April and December 2006. See id. at ¶¶ 38-59. In and around November 2006, after

  lengthy negotiations, Pinchuk, Kolomoisky, Bogolyubov, and others agreed to the terms for the

  creation of Ferroalloy Holding.

          Specifically, the parties agreed:

                 that Pinchuk, Kolomoisky, and Bogolyubov would pool certain of their
                  current respective interests and provide an opportunity to the other parties
                  to participate in all future acquisition opportunities in the ferroalloy
                  business in Ukraine and elsewhere. See id. at ¶¶ 51-52.

                 to share in the profits of the ferroalloy business (which included any future
                  acquisition opportunities which were taken up by the other parties) in
                  proportion to their respective interests in Ferroalloy Holding, and that such
                  profits (less such allowance for the working capital and capital
                  expenditure requirements of the Ferroalloy Holding as might be agreed
                  between the parties from time to time) would be distributed among the
                  parties on at least an annual basis in proportion to their respective interests
                  in the Ferroalloy Holding. See id. at ¶ 54. According to the parties’
                  agreements, Kolomoisky and Bogolyubov together currently hold a 50%
                  interest in Ferroalloy Holding, and Pinchuk currently holds a 25%
                  interest.2

                 that Kolomoisky and Bogolyubov or their agents would conduct the day-
                  to-day management of the assets of Ferroalloy Holding. See id. at ¶ 41.

  2
    The remaining 25% interest in Ferroalloy Holding is currently held by three other partners from whom
  no relief is sought in the London Arbitration. All references in this Application to the ownership interests
  in Ferroalloy Holding are as of the end of 2010 through the present date. (The parties’ respective
  ownership interests in Ferroalloy Holding have varied between 2006 and 2010.)


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               that Pinchuk would be entitled to any accounting or other information
                related to business and trading activities which was reasonably necessary
                to calculate and/or audit the profits of Ferroalloy Holding. See id. at ¶
                54(3)(b).

               that none of the parties would destroy or diminish the value of the assets
                of Ferroalloy Holding or the parties’ participation therein. See id. at ¶
                53(1).

               that none of the parties would misappropriate the assets or profits of
                Ferroalloy Holding. See id. at ¶¶ 53(2), 55.

  II.    BASIS FOR DISPUTE BETWEEN PINCHUK AND KOLOMOISKY AND
         BOGOLYUBOV

         Kolomoisky and Bogolyubov have violated the various agreements and understandings

  relating to Ferroalloy Holding, causing Pinchuk significant monetary damages that he seeks to

  recover in the London Arbitration. See H. F. Smith Decl. at ¶¶ 15-16. Specifically, Pinchuk

  claims that Kolomoisky and Bogolyubov have:

               acquired further ferroalloy assets without offering Pinchuk the opportunity
                to participate in those assets in proportion to Pinchuk’s interest in
                Ferroalloy Holding or otherwise as required under the parties’ agreements.
                See H. F. Smith Decl. at Ex. 2, ¶¶ 60, 62-71;

               failed to distribute on at least an annual basis to Pinchuk his share of
                Ferroalloy Holding’s profits (i.e., the profits of the Ferroalloy Holding less
                such allowance for the working capital and capital expenditure
                requirements of Ferroalloy Holding as might be agreed between the parties
                from time to time). See id. at ¶¶ 61, 72-73;

               misappropriated and artificially depressed the profits of Ferroalloy
                Holding through self-dealing transactions, for example by causing
                Ferroalloy Holding entities to (directly or indirectly) buy raw materials at
                above-market prices from or sell products at below-market prices to
                entities owned or controlled by Kolomoisky and/or Bogolyubov, including
                the Corporate Discovery Respondents. See id. at ¶¶ 61, 74-77; and

               diverted profits from Ferroalloy Holding to companies owned and/or
                controlled by Kolomoisky and/or Bogolyubov. See id. at ¶¶ 61, 74.

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  III.   THE DISCOVERY SUBJECTS

          The Discovery Subjects can be found in this District. None of the Discovery Subjects is

  a named party in the London Arbitration. See H. F. Smith Decl. at ¶ 18.

          A.      The Corporate Discovery Subjects

          The Corporate Discovery Subjects consist of the following entities:

                 Georgian American Alloys, Inc. (“GAA”) is headquartered in Miami,
                  Florida, and is a global leader in the ferroalloy industry. GAA owns and
                  operates numerous domestic and international ferroalloy businesses.
                  Companies under the GAA umbrella include, among others, Felman
                  Production LLC (“Felman Production”), Felman Trading, Inc. (“Felman
                  Trading”), and CC Metals & Alloys, LLC (“CCMA”).3

                 Felman Production, founded in 2006, is a wholly owned subsidiary of
                  Miami-based GAA and is registered to do business in Florida. It is a
                  leading producer of high-quality ferrosilicomanganese, an essential
                  component used in the manufacturing of steel. Felman Production’s
                  products are traded and distributed solely through its Miami-based sister
                  company, Felman Trading.

                 Felman Trading, founded in 2008 and headquartered in Miami, Florida,
                  is a wholly owned subsidiary of GAA. It is a global supplier of
                  ferroalloys. It is also the sole trader and distributor of ferroalloys
                  produced by its sister companies, Felman Production and CCMA.

                 CCMA, a Delaware corporation headquartered in Kentucky, became a
                  wholly owned subsidiary of GAA in 2012 after GAA acquired the
                  membership interests of CCMA from an affiliate. CCMA is a major
                  producer and supplier of specialty ferroalloys to the global iron and steel
                  industry. Its products are traded and distributed solely through its Miami-
                  based sister company, Felman Trading.

          After investigation, Applicant believes that the Corporate Discovery Subjects are owned

  and/or controlled by Kolomoisky and/or Bogolyubov through formal and informal corporate

  3
   GAA also owns Georgian Manganese LLC, a holding company of ferroalloy assets in the Republic of
  Georgia. Kolomoisky and Bogolyubov, or their interests, acquired substantial interests in the ferroalloy
  assets currently held by Georgian Manganese LLC in or around January 2007. See H. F. Smith Decl. at
  Ex. 2, ¶ 62.


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  structures designed to operate Kolomoisky’s and/or Bogolyubov’s interests in the ferroalloy

  business. Pinchuk should have been offered an opportunity to participate in the Corporate

  Discovery Subjects or their assets, through his interest in Ferroalloy Holding. Moreover, the

  Corporate Discovery Subjects are among the ferroalloy companies to which Kolomoisky and

  Bogolyubov are alleged to have illegally diverted ferroalloy assets and profits from Ferroalloy

  Holding. See H. F. Smith Decl. at Ex. 2, ¶¶ 61, 74-77. In particular, the Corporate Discovery

  Subjects are alleged to have been parties to Kolomoisky’s and Bogolyubov’s self-dealing

  transactions, either by directly or indirectly selling raw materials at above-market prices to

  entities within Ferroalloy Holding or buying product at below-market prices from entities within

  Ferroalloy Holding.    See id. The Corporate Discovery Subjects have financial and other

  information relating to the diversion of ferroalloy assets and profits in which Pinchuk has an

  interest; accordingly, discovery from the Corporate Discovery Subjects is highly relevant to the

  claims in the London Arbitration. See id. at ¶¶ 74-77.

         B.      Mordechai Korf

         Mordechai Korf (“Korf”) is the President and Chief Executive Officer of GAA. Korf is

  also the Chief Executive Officer of Felman Trading and the Chairman of its Board of Directors.

  Korf also has been the Chairman of Felman Production and previously was the head of CCMA.

  Thus, Korf has knowledge of the Corporate Discovery Subjects’ businesses, who their beneficial

  owners are, and what their relationships are to Ferroalloy Holding. He also has knowledge of the

  business, capitalization, financial condition, and value of the Corporate Discovery Subjects.

  Korf also should have knowledge of what other entities, including U.S. entities, have been used

  by Kolomoisky and/or Bogolyubov to operate their interests in the ferroalloy industry.



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      Accordingly, Korf has knowledge of financial and other information that is highly relevant to the

      claims in the London Arbitration.

                                          RELIEF REQUESTED

             The Applicant seeks the following documents and other information in the possession,

      custody and control of the Discovery Subjects, including electronically-stored information

      (“ESI”), as defined in the Federal Rules of Civil Procedure:

 I.          DOCUMENTS

             From each of Georgian American Alloys, Inc., Felman Production LLC, Felman Trading,

      Inc., and CC Metals & Alloys LLC (each a Corporate Discovery Subject):

             (1)     The articles of incorporation, by-laws, minutes, board materials, and
                     resolutions of each Corporate Discovery Subject, including any
                     amendments thereto;

             (2)     An organizational chart or documents sufficient to show the directors and
                     officers of each Corporate Discovery Subject, both at the time of
                     incorporation and presently;

             (3)     A chart of or documents sufficient to show the corporate parents,
                     subsidiaries, and any affiliates for each Corporate Discovery Subject, both
                     at the time of incorporation and presently;

             (4)     Documents showing how the Corporate Discovery Subjects were and have
                     been capitalized during the period of January 1, 2006 to the present;

             (5)     Documents showing the identity of any shareholder, member or beneficial
                     owner of each Corporate Discovery Subject, both at the time of
                     incorporation and presently;

             (6)     Documents reflecting non-privileged communications by any Corporate
                     Discovery Subject with Kolomoisky or Bogolyubov or any agent of
                     Kolomoisky or Bogolyubov regarding the ferroalloy business;

             (7)     Documents regarding the ferroalloy business and referring to Ferroalloy
                     Holding, Pinchuk, EastOne Group Ltd., Interpipe, Mikhail Iosifovich



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                 Spektor (“Spektor”), Mikhail Viktorovich Voevodin (“Voevodin”), or
                 Alexander Mikhaylovich Babakov (“Babakov”);4

         (8)     Quarterly and annual financial statements (including Profit and Loss
                 Statements, Balance Sheets, and Statements of Cash Flows) for each
                 Corporate Discovery Subject from January 1, 2006 to the present;

         (9)     Documents reflecting internal or external valuations, appraisals,
                 liquidation analyses, fairness or solvency opinions, or other documents
                 concerning the value of the assets of any Corporate Discovery Subject;

         (10)    Accounts Receivable and Sales Revenue Ledgers reflecting all sales by
                 date from January 1, 2006 to the present;

         (11)    Accounts Payable and Purchase Ledgers reflecting all purchases by date
                 from January 1, 2006 to the present; and

         (12)    Documents referring to Chemstar Products LLC, Empire Chemical LLC,
                 Demeter Diversified LLC, Ferrost LLC, or Solmex LLC.5

         Additionally, from Felman Trading:

         (1)     All trading and distribution records for Georgian American Alloys, Inc.,
                 Felman Production LLC, CC Metals & Alloys LLC, Georgian American
                 Alloys, Inc., and any other ferroalloy business directly or indirectly
                 beneficially owned and/or controlled by Kolomoisky and/or Bogolyubov.

         Additionally, from Korf individually:

         (1)     Documents reflecting non-privileged communications by Korf or any
                 agent of Korf with Kolomoisky or Bogolyubov or any agent of
                 Kolomoisky or Bogolyubov regarding the ferroalloy business; and

         (2)     Documents regarding the ferroalloy business and referring to Ferroalloy
                 Holding, Pinchuk, EastOne Group Ltd., Interpipe, Spektor, Voevodin, or
                 Babakov.

  4
    As discussed in the Declaration of Henry Forbes Smith, Messrs. Spektor, Voevodin and Babakov are
  business partners who participate in the Ferroalloy Holding. See H. F. Smith Decl. at ¶ 7. Although
  Spektor is named as a nominal Respondent in the London Arbitration, Pinchuk does not assert breach of
  contract claims against Spektor in connection with Ferroalloy Holding. See id.
  5
     All of these entities are U.S. entities believed to be beneficially owned and/or controlled by
  Kolomoisky or Bogolyubov, affiliated with the Discovery Subjects, and involved in the ferroalloy
  business. See H. F. Smith Decl. at Ex. 2, ¶ 77.


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II.          DEPOSITION TESTIMONY

             The Applicant also seeks the deposition of Mordechai Korf concerning the following:

             (1)     the Corporate Discovery Subjects’ businesses;

             (2)     the Corporate Discovery Subjects’ beneficial owners;

             (3)     the Corporate Discovery Subjects’ relationships to Ferroalloy Holding;

             (4)     the Corporate Discovery Subjects’ financial condition and value; and

             (5)     any other entities which have been used by Kolomoisky and/or Bogolyubov to
                     operate their interests in the ferroalloy business.

                                        MEMORANDUM OF LAW

      I.     THE APPLICATION MEETS ALL OF THE STATUTORY REQUIREMENTS
             OF 28 U.S.C. § 1782

             28 U.S.C. § 1782 is designed to allow parties to non-U.S. proceedings to take discovery

      in the United States for use in those non-U.S. proceedings. It provides in part:

             The district court of the district in which a person resides or is found may order
             him to give his testimony or statement or to produce a document or other thing for
             use in a proceeding in a foreign or international tribunal including criminal
             investigations conducted before formal accusation. The order may be made
             pursuant to a letter rogatory issued, or request made, by a foreign or international
             tribunal or upon the application of any interested person and may direct that the
             testimony or statement be given, or the document or other thing be produced,
             before a person appointed by the court . . . The order may prescribe the practice
             and procedure, which may be in whole or part the practice and procedure of the
             foreign country or the international tribunal, for taking the testimony or statement
             or producing the document or other thing. To the extent that the order does not
             prescribe otherwise, the testimony or statement shall be taken, and the document
             or other thing produced, in accordance with the Federal Rules of Civil Procedure.

      28 U.S.C. § 1782(a). Section 1782 allows a “broad range of discovery” so as to “assist

      foreign tribunals in obtaining relevant information that the tribunals may find useful.” Intel

      Corp. v. Advanced Micro Devices, Inc., 542 U.S. 241, 259, 262 (2004). Based on the



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  Supreme Court’s decision in Intel, there are four basic requirements for discovery under §

  1782:

          (1)     the request must be made by a foreign or international tribunal, or by any
                  interested person;

          (2)     the request must seek evidence, whether it be the testimony or statement
                  of a person or the production of a document or other thing;

          (3)     the evidence must be for use in a proceeding in a foreign or international
                  tribunal; and

          (4)     the person from whom discovery is sought must reside or be found in the
                  district of the district court ruling on the application for assistance.

  In re Clerici, 481 F.3d 1324, 1331-32 (11th Cir. 2007) (internal quotations and citations

  omitted); see also Intel, 542 U.S. at 246-47. The Application meets all of these statutory

  requirements.

          A.      Pinchuk is an “Interested Person”

          Without question, Pinchuk is an “interested person” within the meaning of § 1782. In

  Intel, the Supreme Court defined an “interested person” under § 1782 to include a litigant in a

  foreign proceeding. Intel, 542 U.S. at 256. An interested person is someone who has a role in

  submitting evidence and has participation rights in the foreign tribunal, and includes someone

  who has a “reasonable interest in obtaining judicial assistance.” Id. Pinchuk is such a person.

  He is the claimant in the London Arbitration. See H. F. Smith Decl. at ¶ 5. By this Application,

  Pinchuk seeks to gather evidence and testimony for use in connection with the London

  Arbitration.

          B.      The Application Seeks Documentary and Testimonial Evidence

          The Application requests documentary and testimonial evidence from the Discovery

  Subjects, satisfying the § 1782 requirement that the request must seek evidence, whether it be the

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  testimony or statement of a person, or the production of a document or other thing. See In re

  Clerici, 481 F.3d at 1331-32.

         C.      The Discovery Subjects Are Found in this District

         Each of the Discovery Subjects is found in this District, conducting business from their

  headquarters or through their agents in Miami, Florida as follows:

         (1)     Georgian American Alloys, Inc.
                 200 S. Biscayne Boulevard
                 Suite 5500
                 Miami, Florida 33131

         (2)     Felman Trading, Inc.
                 200 S. Biscayne Boulevard
                 Suite 5500
                 Miami, Florida 33131

         (3)     Felman Production LLC
                 c/o Robert Powell
                 200 S. Biscayne Boulevard
                 Suite 5500
                 Miami, Florida 33131

         (4)     CC Metals & Alloys LLC
                 c/o Felman Trading, Inc.
                 200 S. Biscayne Boulevard
                 Suite 5500
                 Miami, Florida 33131

         (5)     Mordechai Korf
                 Chief Executive Officer of Georgian American Alloys, Inc., and Felman
                 Trading, Inc.
                 200 S. Biscayne Boulevard
                 Suite 5500
                 Miami, Florida 33131

         Accordingly, each Discovery Subject falls within § 1782.




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         D.      The Evidence Will Be Used in Proceedings in a Foreign or International
                 Tribunal

                 1.      The London Arbitration is a foreign proceeding under § 1782

         The Eleventh Circuit and courts in this District also have recognized that proceedings like

  the London Arbitration fall within § 1782. The London Arbitration is a proceeding filed by

  Pinchuk before the London Court of International Arbitration (the “LCIA”). As detailed below,

  the LCIA qualifies as a foreign or international tribunal that is covered by § 1782.

         Private international arbitral proceedings, such as the London Arbitration, constitute a

  “proceeding” before a “foreign tribunal” under § 1782. See In re Consorcio Ecuatoriano de

  Telecomunicaciones S.A. v. JAS Forwarding (USA), Inc., 685 F.3d 987, 995 (11th Cir. 2012)

  (holding that a foreign arbitration panel fell within § 1782’s scope); In re Application of Mesa

  Power Group, LLC, 878 F. Supp. 2d 1296, 1303 (S.D. Fla. 2012) (holding that a foreign

  arbitration tribunal functionally qualified as a “foreign or international tribunal” under § 1782);

  In re Application of Winning (HK) Shipping Co., Ltd., Case No. 09-22659-MC, 2010 WL

  1796579, **6-7 (S.D. Fla. Apr. 30, 2010) (holding that a London arbitration tribunal fell within

  the purview of § 1782).

         The Eleventh Circuit adopted the functional approach established by the Supreme Court

  in Intel to determine whether an arbitral tribunal qualifies as a “foreign tribunal.” Consorcio

  Ecuatoriano, 685 F.3d at 995. An arbitral body functions as a “foreign tribunal” and thus falls

  within the scope of § 1782 if: (1) it is a first-instance adjudicative decisionmaker; (2) it permits

  the gathering and submission of evidence; (3) it has authority to determine liability and impose

  penalties; and (4) its decision is subject to judicial review. See id.




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          The London Arbitration satisfies these factors. The LCIA is a preeminent arbitral body.

  The members of the LCIA tribunal have authority to hear disputes, weigh evidence, and issue a

  decision that is binding on the parties. Moreover, its decisions are subject to judicial review. See

  H. F. Smith Decl. at ¶¶ 27, 28, 31-42. Thus, the London Arbitration qualifies as a “proceeding”

  before a “foreign tribunal” for purposes of § 1782.

                  2.      The requested discovery is relevant to the London Arbitration

          The LCIA tribunal can benefit from the discovery that this Application seeks. The

  documents requested about the beneficial ownership and financial value, assets, and/or

  capitalization of the Corporate Discovery Subjects, inter alia, as well as the documents and

  sworn testimony of Korf on his knowledge of the Corporate Discovery Subjects, Ferroalloy

  Holding, and Kolomoisky’s and/or Bogolyubov’s interests in the ferroalloy business, will assist

  the LCIA tribunal in adjudicating Pinchuk’s breach of contract claims.                  Each Corporate

  Discovery Subject is involved in some way in the ferroalloy business and is an entity in which

  Pinchuk should have been offered the opportunity to participate, in accordance with the parties’

  agreements and understandings. Additionally, the Discovery Subjects have information of other

  entities beneficially owned and/or controlled by Kolomoisky and/or Bogolyubov and involved in

  the ferroalloy industry in which Pinchuk should have been offered the opportunity to participate.

          E.      Granting the Application Would Foster the Twin Policy Aims of § 1782

          Granting the Application would foster § 1782’s “twin aims of providing efficient

  assistance to participants in international litigation and encouraging foreign countries by example

  to provide similar assistance to our courts.” Intel, 542 U.S. at 252 (internal quotations omitted).6


  6
    These “twin aims” are consistent with the legislative history of § 1782, which “reflects a determination
  on the part of Congress to broaden the scope of international judicial assistance afforded by the federal
  (…continued)
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          The first aim would be served because, as set forth above, the proposed discovery is

  narrowly tailored to seek information that is likely to be highly relevant to the London

  Arbitration. Thus, granting the Application would be an efficient means of assisting a party

  before foreign tribunals. See Lancaster Factoring Co. Ltd. v. Mangone, 90 F.3d 38, 41 (2d Cir.

  1996) (goals of § 1782, which dates back to 1855, are to provide “equitable and efficacious”

  discovery procedures in U.S. courts ‘for the benefit of tribunals and litigants involved in

  litigation with international aspects”) (quoting S. Rep. No. 1580, 88th Cong., 2d Sess. 2 (1964);

  John Deere Ltd. v. Sperry Corp., 754 F.2d 132, 135 (3d Cir. 1985) (noting that a “liberal intent

  to provide judicial assistance” has been “acknowledged as a primary statutory goal since §

  1782’s inception”).

          The second aim would be served because granting the Application would further the

  exchange of judicial assistance between the United States and the United Kingdom. See John

  Deere, 754 F.2d at 135 (noting that § 1782 takes into account “considerations of comity and

  sovereignty that pervade international law” and that reciprocity is not a requirement for its

  application). Accordingly, the “twin aims” of § 1782 support granting Pinchuk’s Application.

          As a result, because Pinchuk’s Application meets all of the statutory requirements for

  invoking 28 U.S.C. § 1782, this Court has jurisdiction to grant the Application.




  courts” and hopefully stimulate reciprocal aid from other countries. See John Deere Ltd. v. Sperry Corp.,
  754 F.2d 132, 135 (3d Cir. 1985) (discussing the legislative history of § 1782).


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  II.    THE COURT SHOULD EXERCISE ITS JURISDICTION UNDER SECTION
         1782 AND GRANT THE APPLICATION

         Once the Court has determined that the statutory requirements for relief under § 1782

  have been met, the Court is vested with the discretion to afford that relief. In Intel, the Supreme

  Court identified the four factors to be used in deciding whether § 1782 relief should be granted:

         (1)     whether “the person from whom discovery is sought is a participant in the
                 foreign proceedings,” because “the need for §1782(a) aid generally is not
                 as apparent as it ordinarily is when evidence is sought from a
                 nonparticipant”;

         (2)     “the nature of the foreign tribunal, the character of the proceedings
                 underway abroad, and the receptivity of the foreign government or the
                 court or agency abroad to U.S. federal-court judicial assistance”;

         (3)     “whether the §1782(a) request conceals an attempt to circumvent foreign
                 proof-gathering restrictions or other policies of a foreign country or the
                 United States”; and

         (4)     whether the request is otherwise “unduly intrusive or burdensome.”

  Intel, 542 U.S. at 264-65.

         Each of these factors supports granting Pinchuk’s Application.

         A.      The Discovery Subjects Are Not Parties to the Foreign Proceedings

         The Discovery Subjects are not parties to the London Arbitration, and are not expected to

  become parties to that proceeding. Therefore, § 1782 plays a significant role in Pinchuk’s ability

  to obtain discovery from the Discovery Subjects regarding Kolomoisky’s and Bogolyubov’s

  concealed assets in which Pinchuk may have a legal interest and the existence of which will

  demonstrate that Kolomoisky and Bogolyubov breached their agreements and understandings

  with Pinchuk, as he alleges in the London Arbitration.




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             B.     The LCIA Is Not Hostile to this Application

             Once the documents and testimony are obtained, there is no reason to believe that the

  arbitral tribunal in the London Arbitration will reject documents and testimony concerning the

  beneficial ownership and financial value, assets, and/or capitalization of the Corporate Discovery

  Subjects, as well as documents and testimony concerning Ferroalloy Holding and Kolomoisky’s

  and/or Bogolyubov’s interests in the ferroalloy business. There is no law, rule of evidence or

  rule of procedure in the LCIA that prohibits Pinchuk from filing this Application or from seeking

  and obtaining the discovery requested. See H. F. Smith Decl. at ¶¶ 27-30. Indeed, English law

  (which the parties to the London Arbitration agree govern their dispute) does not forbid the

  parties or the LCIA from seeking the assistance of the U.S. courts in collecting evidence. See id.

  at ¶ 30.

             C.     The Application Has Not Been Filed to Circumvent Any Law or Rule

             On its face, the Application has been interposed for a proper purpose. The Application is

  the only practical way that Pinchuk has to obtain highly relevant evidence relating to concealed

  assets controlled by Kolomoisky and Bogolyubov through the Discovery Subjects. Absent relief

  under § 1782, Pinchuk will be deprived of key evidence for use in the London Arbitration,

  indeed, evidence relating to assets in which he has a legal interest.

             D.     The Discovery Requests Are Not Unduly Intrusive or Burdensome

             Finally, Pinchuk’s Application is narrowly tailored to the subject matter of the pending

  London Arbitration. The information sought is focused, highly relevant and necessary for a fair

  and just resolution of the underlying matter.

             In light of the fact that all four factors weigh in favor of granting the requested discovery,

  Pinchuk respectfully requests that the Court grant his Application.

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  III.   THE DISCOVERY SUBJECTS SHOULD PRESERVE RELEVANT EVIDENCE

         The requested evidence is for use in a proceeding that concerns the improper

  concealment of assets. Accordingly, Pinchuk submits this Application on an ex parte basis and

  seeks an order directing the Discovery Subjects to preserve the evidence sought. To the extent

  that the Discovery Subjects seek protection from any of the proposed discovery, they can address

  those issues in response to the requested discovery or through an appropriate motion. See, e.g.,

  In re Clerici, 481 F.3d at 1329 (affirming district court’s denial of motion to vacate order

  granting ex parte § 1782 application).

         The relevant events took place beginning in 2006 and have continued through to the

  present, and the Applicant is concerned that some or all of the documentary evidence sought may

  be lost or jeopardized by the Discovery Subjects’ document retention and destruction policies or

  otherwise. To the extent that any of the requested evidence may be discarded or deleted,

  manually or automatically, the Discovery Subjects should be directed to preserve all such

  potentially relevant evidence. See In re Setraco Nigeria Ltd., No. 3:13-mc-16-32MCR, 2013

  WL 1704913, at *4 (M.D. Fla. Apr. 19, 2013) (granting application for § 1782 discovery and

  requiring discovery subject to preserve documents and evidence); In re Application of Nat’l

  Broadcasting Co., Inc., No. M-77, 1997 WL 33442116, at *1 (S.D.N.Y. Aug. 1, 1997) (same).

                                           CONCLUSION

         WHEREFORE, for the foregoing reasons, Applicant Victor Mikhaylovich Pinchuk

  respectfully requests that the Court: (i) grant this Application for Discovery Pursuant to 28

  U.S.C. § 1782 with respect to documents requested herein, and order the Discovery Subjects to

  produce said documents within thirty (30) days; (ii) permit the deposition requested herein

  within the parameters set forth above; (iii) direct each of the Discovery Subjects to duly preserve

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  all evidence related to the subject matter of this Application; (iv) permit the Applicant to issue

  additional subpoenas fifteen (15) days after filing of Notice of Intent to Serve Subpoena, to any

  other party residing or found within the Southern District of Florida likely to have relevant

  evidence to be used in the London Arbitration; and (v) permit the Applicant to seek further

  documents and/or testimony from the Discovery Subjects based on documents and information

  obtained from the Discovery Subjects or from any other party in response to any other subpoena

  issued in connection with this Application.7

                                                   Respectfully submitted,


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                                                   Pinchuk




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      A Proposed Order is attached hereto as Exhibit B.


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